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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                      CRIMINAL CASE NO.: 4:19-CR-141-SA

AUSTIN KYLE RUBY                                                                     DEFENDANT

                                 ORDER SETTING SENTENCING

         Pursuant to the change of plea held on January 21, 2020, and the Defendant’s
adjudication of guilt,

         IT IS HEREBY ORDERED that,

         1. The sentencing hearing in this matter is set for Tuesday, April 28, 2020, at 11:00

AM, Courtroom 1, First Floor of the U.S. District Courthouse in Oxford, Mississippi.

         2. The United States Probation Office shall conduct a presentence investigation and

prepare a presentence report. FED. R. CRIM. P. 32(c) and (d), 18 U.S.C. § 3552(a), and U.S.S.G. §

6A1.1.

         3. The probation officer shall disclose the completed report to counsel for the defendant

and counsel for the government on or before March 24, 2020. Except for proposed special

conditions of supervision, the probation officer shall not disclose any recommendation made or to

be made to the Court. FED. R. CRIM. P. 32(e)(3).

         4. Counsel shall attempt in good faith to resolve disputes over any material in the

presentence report.      All arithmetical, typographical, or other clear error should be handled

informally, by counsel, with the probation officer.       Any unresolved objections to material

information, sentencing guideline ranges, and policy statements contained in or omitted from the

presentence report, shall be filed as a restricted document by the objecting party on or before April
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7, 2020. FED. R. CRIM. P. 32(f)(2) and U.S.S.G. § 6A1.2(b). Any unresolved objections will be

included in the addendum to the presentence report. Responses to objections, if any, are due seven

(7) days after the objections are filed.

        5. While recognizing a defendant’s right under Fed. R. Crim. P. 32(h)(3)(C) to present

any information in mitigation before a sentencing is imposed, sentencing memoranda and/or

supporting documents addressing all relevant sentencing issues, including reference letters and

motions for departure, shall be filed as restricted documents by the appropriate party on or before

April 14, 2020. Any unresolved objections will be included in the presentence report; objections

should not be included in a sentencing memorandum.

        6. The presentence report, in final form, including any unresolved objections, will be

delivered to the Court and the parties on or before April 21, 2020. FED. R. CRIM. P. 32(g) and

U.S.S.G. § 6A1.2 (c).

        7. The Court will resolve objections to the presentence report at the sentencing hearing.

FED. R. CRIM. P. 32(i) and U.S.S.G. § 6A1.3.

        8. All parties that intend to have witnesses testify at sentencing shall give notice to the

Court ten (10) days prior to the sentencing date. Any authority counsel intends to use in support

of its position should be submitted to the Court at least (7) days before sentencing hearing.


        This the 21st day of January, 2020.

                                                     /s/ Sharion Aycock
                                                           UNITED STATES DISTRICT JUDGE
